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UNITED STATES DlSTRlCT COURT '
WESTERN DlSTFl|CT OF TENNESSEE fl£D HY._,.

MEMPHls DivlsloN ""`"°“""

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uNlTED sTATEs oF AMERch ‘
jiit"}irstf`>` M. 136 '
-v- 2:04-20346-01-3 Cifflt. U§. D:'STHSCT
W/D O;~ TN. MEMPHIS
ANToN J. MATrcs

Va|erie Corder, Retained
Defense Attorney
200 Jefferson Ave., Suite 725

IVlemphis, TN 38103

 

JUDGMENT lN A CRI|V||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 & 2 of the indictment on Apri| 05, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following offenses:

 

Date Count
Title & Section Nature of Offense Offense _lltM:£r_s
Concluded
18 U.S.C. § 2252 Possession of Child Pornography 07/19/2004 1
(a)(4)(B)
18 U.S.C. § 2252 (a)(t) Transportation of Child Pornography 05/22/2004 2
and
18 U.S.C. § 2

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victims Restitution Act of 1996.

Count 3 is dismissed on the motion of the United States.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
Within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 11/29/1958 August 18, 2005
Deft’s U.S. Marsha| No.: 19830-076

Defendant’s Mai|ing Address:
2272 Tunis Cove
Memphis, TN 38104

 

J. DAN|EL\BREEN
( juJITED sTATEs DlsTslcT JchE

August !l\’ , 2005

__*

Thls dccumeht entered oh the docket sheet in compliance
wm ama ss and/or sz(b; ssch on § ~ .Q(g »~ 5 4{

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Case No: 2:04CF320346-01-B Defendant Name: Anton ..|. lViATlCS Page 2 of 5
|MPRISONNIENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 60 llllonthsr as to each count, to be served
concurrently

The Court recommends to the Bureau of Prisons:

- Piacement at the Federa| lVledical Center at Butner, North Carolina, to participate in the
Sexua| Offender Treatment Program.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States N|arsha|.

RETURN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment
UNITED STATES MARSHAL
By:

 

Deputy U.S. l\/larsha|

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released Within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributedl or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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10.

11.

12.

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court1

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics1 and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirementl

if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Crimina| lVionetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised

reiease:

1 .

10.

Participate in a specialized sex offender treatment program that may include the use of
piethysmograph and polygraph.

Have no direct or indirect contact with any child under the age of 18; do not reside with any
child under the age of 18; refrain from loitering near school yards, playgrounds, swimming
poo|s, arcades, or other places frequented by child ren.

Do not possess any pornography

Do not use any sexually oriented telephone numbers or services.

Do not possess, or use a computer with access to any “on-|ine computer service" at any
location (including employment) without the prior approval of the probation officer. This
includes access through any lnternet Service provider, bulletin board system, or any other
public or private computer network or email system.

Employment and change of address must be approved by the probation officer.

P|ace of residence may not be in close proximity to parks, piaygrounds, public pools, or any
other locations frequented by children.

Cooperate in the collection of DNA as directed by the probation officer.

Participate in substance abuse testing and treatment as deemed appropriate by the
probation officer.

Abide by an evening curfew as set by the probation officer.

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Case No: 2:04CR20346-01-B Defendant Name: Anton J. |V|AT|CS Page 5 of 5

CR|IVIINAL NIONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). AI| of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$200.00

The Speciai Assessment shall be due immediately

F|NE
No fine imposed

FiEST|TUTlON
No Flestitution was ordered.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CR-20346 Was distributed by faX, mail, or direct printing on

August 26, 2005 to the parties listed.

 

Valerie T. Corder

LAW OFFICE OF VALERIE T. CORDER

200 Jefferson
Ste. 725
i\/lemphis7 TN 38103

Jeffrey J ones
JONES LAW FIRM
6540 Stage

Bartlett7 TN 3 8134

Dan Nevvsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

